         Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 1 of 42 PageID #:1578




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                                                                                                                                Minya L. Coleman
                                                                                                                                           Attorney
                                                                                                                          Direct Dial 312-322-7097
                                                                                                                          Facsii'nile: 3 ?2-322-6698
                                                                                                                    Emai}: incolemaii(ametrarr.com



                                                        November 16, 2018

 Jill M. Willis, Esq.                           Paul Otubusin
 Law Office of Jill M. Willis                   Otubusin & Associates, p.c.
 3628 S. King Drive                             77 West Washington st., Ste. 1204
 Chicago, Illinois 60653                        Chicago, Illinois 60602

        RE: DavidLee,etalv.Metra,etal.l6Cl0904

Dear Counsels,

Pursuant to the Court's October 22, 2018 0rder, granting Metra's Motion for Sanctions of reasonable attorneys'
fees and costs, below is an itemization of Metra's attorneys' fees incurred relative to the defense of Plaintiffs'
frivolous claims of Race Discrimination, Breach of Corttract, violations of Illinois Civil Rights Act of 2006, and
Plaintiffs' counsels other vexatious conduct. Enclosed please find the respective Affidavits attesting to the
reasonableness and accuracy of the fees and billing for the relative legal services between May 1, 2017 through
May 28, 2018.
                 Defendants' Rule 11 Letter/ Motion to Dismiss/Plaintiffs' Leave to Amend/File TAC
                                 Attorney                        Hours               Rate                     Total

                        April Walkup (Partner)                    41.9            $226.00                  $9,469.40
                  Matthew Kaminski (Associate)                    46.8            $194.00                   $9,079.20
                            SUBTOTAL                                                                       $18,548.60

                         Plaintiffs' Motion to Reconsider Dismissal of CSAC and Denial of TAC
                                 Attorney                        Hours               Rate                      Total

                     April Walkup (Partner)                         o             $226.00
                  Matthew Kaminski (Associate)                     6.6            $194.00                   $1,280.00
                            SUBTOTAL                                                                        $1,280.00

                                      pefendants Motion for Sanctions/Attorney's Fees
                                      ffl



                                 Attorney                        Hours               Rate                      Total

                        April Walkup (Partner)                     4.2            $226.00                    $949.20
                  Matthew Kaminski (Associate)                    46.3            $194.00                   $8,982.20
                            SUBTOTAL                                                                        $9,931.40

                                                  Attorney                       Total Hours             Total Fees
                                            April Walkup (Partner)                     46.1              $10,418.60
                                      Matthew Kaminski (Associate)                     99.7              $19,341.80
                                              GRAND TOTAL                             145.8              $29,760.40
Sincerely,

/s/Minya L. Cojeman
Minya L. Coleman, Esq.



                                                                                                             Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 2 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 3 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 4 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 5 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 6 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 7 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 8 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 9 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 10 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 11 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 12 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 13 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 14 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 15 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 16 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 17 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 18 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 19 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 20 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 21 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 22 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 23 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 24 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 25 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 26 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 27 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 28 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 29 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 30 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 31 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 32 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 33 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 34 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 35 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 36 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 37 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 38 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 39 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 40 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 41 of 42 PageID #:1578




                                                               Exhibit A
Case: 1:16-cv-10904 Document #: 83-1 Filed: 01/18/19 Page 42 of 42 PageID #:1578




                                                               Exhibit A
